            Case MDL No. 3115 Document 48 Filed 04/26/24 Page 1 of 3




                        UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION




 IN RE CONSUMER VEHICLE DRIVING
 DATA TRACKING LITIGATION                                         MDL No. 3115



    INTERESTED PARTY RESPONSE OF PLAINTIFF JACQUELYN VAUGHN
  TO MOTION FOR TRANSFER OF ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR
       COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS

                                      Oral Argument Requested

       Pursuant to Rule 6.2(e) of the Rules of Procedure for the Judicial Panel of Multidistrict

Litigation (“Panel”), Plaintiff Jacquelyn Vaughn (Case No. No. 2:24-cv-01473 (E.D. Pa.))

respectfully files this Response to the Motion for Transfer of Actions Pursuant to 28 U.S.C. § 1407

for Coordinated or Consolidated Pretrial Proceedings. See ECF 1.

       Plaintiff Vaughn agrees that the matters should be transferred under § 1407, and supports

the motion to transfer. For brevity, Plaintiff Vaughn adopts the background and legal argument

set forth in the motion to transfer. There is no question all pending cases implicate common facts

and legal issues. There is little doubt that coordination or consolidation will service the

convenience of the parties and witnesses, and conserve judicial resources.

       Plaintiff Vaughn further submits that: (i) any MDL should include vehicles made by other

manufacturers besides GM; and (ii) that the MDL should be assigned to the Hon. Julia K. Munley

of the Middle District of Pennsylvania, or alternatively Judge John F. Murphy of the Eastern

District of Pennsylvania.

       First, while the initial cases involving the alleged illicit driver tracking practices named

General Motors and its affiliates, it is clear that the challenged practices extend beyond this

                                                1
             Case MDL No. 3115 Document 48 Filed 04/26/24 Page 2 of 3




singular vehicle manufacturer. As widely reported, a number of other vehicle manufacturers

purportedly engage in the illicit same practices. 1

       Plaintiff Vaughn appears to be the first to have filed a related case against a different

manufacturer, Kia, for engaging in the same illicit data tracking practices. See ECF 41 (notice of

related action Vaughn v. Kia America, Inc., No. 2:24-cv-01473 (E.D. Pa.)). It also is possible, if

not likely, that allegations in these related cases might expand to include the insurance companies

surreptitiously buying drivers’ data and raising drivers’ premiums or quotes. Cf., e.g., Servedio v.

State Farm Ins. Co., 814 F. Supp. 2d 214, 218 (S.D.N.Y. 2011) (finding deceptive car insurance

practices to be actionable under state consumer protection statute).

       This Panel routinely centralizes multi-defendant cases involving the same or substantially

similar challenged practices. See, e.g., In re Hair Relaxer Mktg., Sales Pracs., & Prods. Liab.

Litig., 655 F. Supp. 3d 1374, 1377-78 (J.P.M.L. Feb. 6, 2023); In re Valsartan, Losartan, &

Irbesartan Prods. Liab. Litig., 433 F. Supp.3d 1349, 1352-53 (J.P.M.L. Dec. 18, 2019); In re

Androgel Prods. Liab. Litig., 24 F. Supp. 3d 1378 (J.P.M.L. 2014). The Panel should do the same

here, and not limit centralization to driver tracking cases against GM only. At a minimum, given

the pendency of Plaintiff Vaughn’s own case against Kia, any MDL should include vehicle

manufacturers besides GM such as Kia.

       Second, there really is no true geographic center of gravity for these cases. While GM

might be “at home” in Michigan, LexisNexis Risk Solutions Inc. is headquartered in Georgia.

Other car manufacturers identified in media reports as engaging in the same practices are located

in New Jersey (Subaru) and California (Kia and Hyundai).



1
 See, e.g., Automakers Are Sharing Consumers’ Driving Behavior With Insurance Companies,
NEW YORK TIMES (Mar. 13, 2024).
                                                  2
              Case MDL No. 3115 Document 48 Filed 04/26/24 Page 3 of 3




         Given such, Plaintiff Vaughn submits the Middle District of Pennsylvania is an appropriate

forum for centralization. The Middle District of Pennsylvania has a low number of non-Habeas

civil filings, a low ratio of civil filings per judgeship, and an impressive median time of 10.8

months from filing to disposition. 2

         One of the first-filed related cases here is already pending in the Middle District of

Pennsylvania before the Hon. Julia K. Munley, in Scranton, Pennsylvania. See DiNardo v. General

Motors LLC, No. 3:24-cv-00524 (M.D. Pa.). Judge Munley is an able jurist with a modest docket

and substantial prior state court judicial experience. The Middle District of Pennsylvania, and

Scranton in particular, satisfies all of the convenience factors this Panel typically considers, such

as proximity to major airports in New York, New Jersey, Philadelphia, and Scranton itself.

         Alternatively, and for similar reasons, the Eastern District of Pennsylvania would be an

appropriate forum as well. Plaintiff Vaughn’s related case, believed to be the first against Kia, is

currently pending in Eastern District of Pennsylvania before the Hon. John F. Murphy. See Vaughn

v. Kia America, Inc., No. 2:24-cv-01473 (E.D. Pa.). The Eastern District of Pennsylvania, and

Judge Murphy in particular, are both well-suited to oversee this MDL.


Dated: April 26, 2024                     Respectfully Submitted,

                                           /s/ Ruben Honik
                                           HONIK LLC
                                           Ruben Honik, Esq.
                                           David J. Stanoch, Esq., Of Counsel
                                           1515 Market Street, Suite 1100
                                           Philadelphia, PA 19102
                                           Tel: 267-435-1300
                                           ruben@honiklaw.com
                                           david@honiklaw.com

                                           Counsel for Plaintiff Vaughn, No. 2:24-cv-01473 (E.D. Pa.)

2
    See FEDERAL COURT MANAGEMENT STATISTICS – PROFILES (Dec. 2023).
                                                 3
